Case 1:04-cr-10067-.]DT Document 38 Filed 04/21/05 Page 1 of 2 Page|D 43

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IN THE UNITED STATES DISTRICT COURT `§€` DC'
FOR THE WESTERN DISTRICT OF TENNESSEE 05 APR 2i PH it 0
EASTERN DIVIsIoN 2
UNITED sTATEs oF AMERICA, R§B:‘{'J if gi §§YSOU€I
Plaintiff, W' "\ lf\CKSON
vs. No. 04-10067-r
MICHAEL BRAD mMPER,
Defendant.

ORDER CONT!N LJIBG TRlAL
AND EXCLUDING DELAY

Upon motion of counsel for defendant Michael Brad Jumper, with no objection from
the government and for good cause shown, the trial date Which is currently scheduled for April
25, 2005, is hereby continued Defendant contends that additional time is needed for
preparation for the trial.

The court finds that the defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of j ustice Will be served by granting a continuance in order to allow the defendant more time to

prepare for trial. Accordin l the trial is continued from A ri125 2005 to June 13 2005 at

 

9:30 A.M. The resulting period of delay, from Apri125, 2005, to June 13, 2005, is excluded
pursuant to 18 U.S.C. § 3l6l(h)(8)(A).

A new report date is scheduled for June 7, 2005, at 9:00 a.rn.

D-M

J ES D. TODD
ITED STATES DISTR_ICT JUDGE

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IT IS SO ORDERED.

DATE

Thls document entered on the docket sheet |n compliance
with nule 55 and/or az(b) mch on 593 w

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Honorable J ames Todd
US DISTRICT COURT

